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                       UNITED STATES DISTRICT COURT
                   IN THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

MICHAEL COZZI, et al.                     )
                                          )
Plaintiffs,                               )
                                          )
v.                                        )       Case No. 21 CV 00998
                                          )
VILLAGE OF MELROSE PARK,                  )
et al.,                                   )
                                          )
Defendants.                               )


                             Proposed Discovery Protocol
      1. With respect to Facebook, Instagram and, Snapchat, an independent
         custodian with appropriate and requisite technical knowledge selected by
         Plaintiff shall login using the credentials of Michael Cozzi and download all
         data. The data shall then be reviewed for responsive posts from July 31,
         2020 to present.

      2. With respect to TikTok, an independent custodian with appropriate and
         requisite technical knowledge selected by Plaintiff shall login using the
         credentials of Michael Cozzi and use screen capturing software to capture the
         data produced on the screen. The data shall then be reviewed for responsive
         posts from July 31, 2020 to present.

      3. With respect to video, all video must be produced in its native format so that
         the properties of the video, including date and time of recording and any
         editing of same, are viewable to the extent available and all metadata,
         including but not limited to GPS data, EXIF data, and XMP data. An
         independent custodian with appropriate and requisite technical knowledge,
         shall conduct a manual search for all responsive videos.

      4. With respect to all email, an independent custodian with appropriate and
         requisite technical knowledge shall be provided login information and
         conduct a search for all emails related to the topics identified and download
         all emails in native format or in the most reasonably accessible format that
         demonstrates the sender, recipient, date and time. Depending on the volume
         of emails, the Village suggests if the amount of emails to search is not high to

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                                                                              EXHIBIT 1
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    simply conduct a manual search. The Village also offers the following
    suggested search terms: (a) Village; (b) Mayor; (c) Melrose; (d) citations; (e)
    chairs; (f) Serpico; (g) police; (h) Code Enforcement; (i) Billy; (j) Campanelli;
    (k) continuance; (l) fines; (m) lien; (n) hearing officer; (o) Melrose Park; (p)
    VMP; (q) “Village of Melrose Park”

 5. All video and social media responsive documents and data shall be copied,
    processed, and produced in a forensically sound method that alters the native
    format and other properties as little as possible. Use of Google shall not be
    permitted as Google allows and provides for the alteration and deletion of
    certain metadata.

 6. Prior to turning over responsive documents and data for the requests for
    production at issue, Michael Cozzi’s counsel shall review all documents and
    data for privilege. To the extent any privileged material is returned in the
    search, Cozzi’s counsel shall produce a privilege log.

 7. Prior to performing a search of relevant social media, Michael Cozzi shall
    identify and un “hide” all posts to the independent custodian to ensure all
    relevant posts are produced. A list of all un “hidden” posts that are
    responsive shall be provided to the Village upon production of same.

 8. An independent custodian shall also review Michael Cozzi’s cellphone(s),
    laptop, computer, or any other digital device for any responsive data or
    documents to the requests at issue. This shall include any and all deleted
    data to the extent that it is responsive and accessible without the use of
    extraordinary methods. Any and all data recovered that is responsive shall
    be copied and processed using a tool accepted by US Courts such as Magnet
    Axiom.

 9. An independent custodian shall not include: (a) Cozzi’s attorney; (b) any
    employee of Cozzi’s attorney’s law firm; (c) any other individual with a
    financial interest in the outcome of the litigation (other than any fee they
    might receive for performing said search); or (d) any individual that is or was
    represented by Cozzi’s attorney of Cozzi’s attorney’s law firm in any litigation
    on their behalf; (e) Michael Cozzi himself.

 10. The independent custodian shall produce an affidavit identifying that
     production is complete to the best of his or her knowledge and abilities and
     what qualifications they possess so as to demonstrate appropriate and
     requisite technical knowledge. With respect to email, the custodian shall

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     identify what search terms or methods were used to conduct the search and
     ensure that all relevant email was produced.




                                            Respectfully submitted,
                                            By: /s/ Cynthia S. Grandfield
                                                Cynthia S. Grandfield


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